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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SMA MEDICAL LABORATORIES, INC.
CIVIL ACTION NO.:

Plaintiff,

VS.

COMPLAINT
ADVANCED CLINICAL LABORATORY

SOLUTIONS, INC.; and LEONID
REYFMAN, M.D., JURY TRIAL DEMANDED

Defendants.

Plaintiff, SMA Medical Laboratories, Inc. (“Plaintiff’ or “SMA”), by and through its
attorneys, Stark & Stark, A Professional Corporation, hereby files this Complaint for damages
against Advanced Clinical Laboratory Solutions, Inc. (“ACLS”) and Leonid Reyfman, M.D.
(“Reyfman”), and in support thereof avers as follows:

NATURE OF ACTION

1. This matter arises out of SMA’s contract with ACLS for reference laboratory
services, which included providing toxicology testing services for SMA’s customers consisting of
physicians, medical practice groups, hospitals, outpatient facilities, clinics, and other medical
providers. See Reference Laboratory Services Agreement between ACLS and SMA dated April

14, 2014 (without exhibits) (the “Contract”), attached hereto as Exhibit A. ACLS contracted to

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provide the reference laboratory services for SMA and agreed not to use or to disclose any
confidential information, trade secrets, or customer lists of SMA during the term of the Contract.
ACLS further agreed not to contact, solicit, or collect fees from any of SMA’s customers for
purposes of providing or selling services offered by SMA for the duration of the Contract and for
twenty-four months following termination of the Contract. Unbeknownst to SMA, and without
permission or authorization from SMA, ACLS, under the direction and control of Reyfman, used
SMA’s confidential information and customer lists to directly and indirectly solicit SMA
customers in order to divert business away from SMA. As a result of SMA’s intentional, tortious,
and malicious conduct, SMA has been damaged through the loss of business in an amount
estimated to be in the multi-millions of dollars.

THE PARTIES

2. SMA Medical Laboratories, Inc. (“SMA”) is a Pennsylvania corporation with its
principal place of business at 940 Pennsylvania Blvd, Suite E, Feasterville, PA 19053. SMA is an
accredited reference laboratory performing routine and esoteric diagnostic testing. SMA provides
a wide range of testing services from routine blood tests such as total cholesterol and white blood
cell count to complex panels, such as heavy metals, allergy, cardiac risk & weight loss profiles,
which aid in the diagnosis or detection of diseases, and measure the progress or recovery from a
disease.

3. Advanced Clinical Laboratory Solutions, Inc. (“ACLS”) is a New York corporation
with its principal place of business at 2277-83 Coney Island Ave #3B, Brooklyn, NY 11223.
ACLS is a competitor of SMA and is also engaged in the business of providing diagnostic

laboratory testing services to patients, physicians and medical centers across the country.

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4, Leonid Reyfman, M.D. (“Reyfman”) is an individual residing in the State of New
York. At all times relevant to this Complaint, Reyfman was the owner and COO of ACLS and had
the power and ability to control ACLS’s business operations and to make decisions on behalf of
ACLS.

5. Needing the specific testing services performed by ACLS to fully service its
customers, SMA entered into a contract with ACLS to provide toxicology laboratory services for
SMA and SMA’s customers. See Exhibit A. Given the proprietary nature of the confidential
information ACLS would have access to in the performance of its testing services, the Contract
between SMA and ACLS specifically provided protections against the misappropriation of SMA’s
confidential business information, including customer identifications, by prohibiting, inter alia,
ACLS from using SMA’s confidential business information to solicit or contact SMA’s customers,
unless ACLS received written approval from SMA. Id. at pp. 2-4, §§ 8-12.

6. SMA has recently learned that ACLS, in contravention of its contractual and
common law obligations and duties, and at the direction and behest of Reyfman, has knowingly
and intentionally used SMA’s confidential information to solicit SMA’s customers and to divert
business away from SMA.

JURISDICTION AND VENUE

7. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 based
upon a federal question (Defend Trade Secrets Act).

8. This Court also has subject matter jurisdiction over this civil action pursuant to 28
U.S.C. § 1332(a) because it involves a dispute between citizens of different States and the matter

in controversy exceeds the sum or value of $150,000, exclusive of interest and costs.

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9. Plaintiff SMA is a citizen of the Commonwealth of Pennsylvania, Defendant ACLS
is a citizen of the State of New York, and Defendant Reyfman is a citizen of the State of New
York.

10. ACLS conducts business in Pennsylvania by providing testing lab services for
Pennsylvania patients, companies, and medical providers.

11. Additionally, during the pendency of the Contract, ACLS and Reyfman had regular
and systematic contacts with the State of Pennsylvania, including by and through its dealings with

SMA and its solicitation of SMA’s customers located or doing business in Pennsylvania.

12. Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2).
13. Venue and jurisdiction are, therefore, appropriate in this judicial district.
BACKGROUND FACTS

A. The Contract

14. SMA is a full service diagnostic testing service provider offering basic and complex
laboratory testing services.

15. In 2014, SMA was not approved to process toxicology specimens for its provider
customers and was therefore in need of a laboratory that provided those services, such as ACLS.

16. On or about April 14, 2014, SMA entered into a contract with ACLS for the
performance of reference laboratory services on an as-needed basis for SMA customers. See
Exhibit A.

17. On or about April 18, 2014, Mark Shvartsburd signed the Contract on behalf of
SMA and Anatoly Mecrovich, M.D. signed the Contract on behalf of ACLS as well as initialed
every page of the Contract to evidence his understanding and agreement to the terms contained

therein. Jd. at p. 9.

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18. The Contract requires ACLS to test specimens received by ACLS from SMA or
SMA customers and then to provide SMA with a testing report with the results of the testing. Jd.
at pp. 1-2, §§ 1-5.

19. ACLS’s performance of its testing services under the Contract necessarily required
SMA to provide ACLS with confidential business information, including but not limited to, SMA
customer identification and contact information, non-public competitive business information, and
SMA’s trade secrets.

20. As such, SMA required that ACLS agree to use such confidential business
information “solely for SMA’s benefit.” Jd. at p. 2, § 8.

21. The Contract defines “Confidential Information” as “any data or information, other
than Trade Secrets, that is valuable to SMA and not generally known to the public or to
competitors of SMA.” Id. at p. 3, § 10.1.

22. The Contract defines “Trade Secret” as follows:

“Trade Secret” means information including, but not limited to,
business plans and methods, trade secrets, products, services,
financial affairs, formulae, technology, know-how, contracts,
contact lists, costs, policies, sales methods, financial information,
profits, expenses, operations, operating methods and procedures,
processes, statistics, suppliers, marketing data, strategic information,
sales and plans for future developments, methods, reports, plans,
strategies and efforts, medical providers, customers, customer lists,
customer requirements and information, prospective customers,
customer files, proposals and communications with customers and
prospective customers, fees, information regarding meeting
attendees, employee lists and information, financial and other record
systems, records, applications, computers, computer programs,
system documentation, hardware, software and information
contained therein, marketing and expansion plans, technologies,
development, projects, forms and other trade secrets, inventions,
designs, know-how, any facts concerning the systems, methods,
procedures or plans developed or used by SMA or Company
Business Relationships or other private, confidential or proprietary

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information of or about SMA, or Company Business Relationships
which is not already available to the public.

[/d. at pp. 3-4, § 10.1 (emphasis added)]

23. The Contract defines SMA’s “Customers” as “medical providers including but [not]
limited to physicians, group practices, hospitals, outpatient facilities, ASCs and clinics”. Jd. at p.
1,9 B.

24. By entering into the Contract with SMA, ACLS agreed to “not use or disclose,
directly or indirectly, for any reason whatsoever or in any way, other than at the direction of SMA
during the course of this Agreement or after receipt of the prior written consent of SMA, any
Confidential Information of SMA, that comes into [ACLS’s] knowledge during the term of this
Agreement”. Jd. at pp. 2-3, at § 9.

25. Furthermore, ACLS agreed not to contact or solicit any of SMA’s customers or to
collect any fees from SMA’s customers without the prior consent and approval of SMA:

Further contacts with the Customers (Non-Circumvention).
[ACLS] agrees not to contact or initiate contact at any time for any
purpose, either directly or indirectly, any Customer of SMA or any
of such Customer’s officers, directors, shareholders, consultants,
attorneys, employees, agents or other affiliates of the Customer, or
any other property or properties whose identity was revealed through
the efforts of SMA, unless such approval is specifically granted in
written form by SMA on a case-by-case basis. [ACLS] further
agrees not to undertake any transaction or a series of transactions of
any kind with the Customer or to collect any fees in connection with
the Customer without the express prior written agreement of SMA,
which agreement may be withheld in SMA’s sole discretion.

[/d. at p. 4, § 11 (bolding in original, italics added). |

26. The Contract also contains a non-solicitation clause prohibiting ACLS from

soliciting any of SMA’s customers for the purposes of providing them with any services offered by

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SMA for a period of two (2) years following the termination or expiration of the Contract. Jd. at p.
4,§ 12.

27. With respect to damages and enforcement, the Contract provides that SMA is
“entitled to recover any damages proved to have been caused by any breach of [ACLS’s]
covenants and agreements hereunder,” and specifically allows for the recovery of attorney’s fees:

In the event SMA is required to enforce the terms of this Agreement
through court proceedings, the prevailing party will be entitled to
reimbursement for all reasonable legal fees, costs and expenses
incident to such enforcement proceedings, including at the pre-trial
level, trial level, and appellate level.
[/d. at p. 5, § 16 (emphasis added).]

28. The Contract expired on March 31, 2016, but was automatically renewed until
September 9, 2016 when the New York Department of Health shut ACLS down for failing to
perform calibration and quality control procedures properly and ACLS could no longer perform
toxicology testing services under the Contract.

B. SMA’s Business, Customers, and Marketing Consultants

29. Over the years, SMA has established itself as a leading provider of laboratory
testing services in the Tri-State area.

30. In early 2015, SMA was approved to perform toxicology testing, but continued to
send samples to ACLS pursuant to the Contract for a variety of business and economic reasons.

31. SMA has invested significant time and money into cultivating and maintaining
relationships with its customers, which include physicians, medical offices, hospitals, clinics, and
other medical service providers.

32. The medical laboratory testing market is ultra-competitive with many competitors

offering the same array of diagnostic and clinical testing services; therefore, SMA takes great

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measures to protect certain confidential information and trade secrets that give SMA a competitive
advantage in the industry, including but not limited to, customer lists, customer contacts, and
testing result information.

33. Part of SMA’s business development strategy is to hire independent marketing
representatives to solicit new and existing customers for SMA.

34. SMA pays a commission to its marketing representatives who serve as SMA’s
marketing and sales force in attracting new clients and customers.

35. SMA relies on its marketing representatives to develop business for SMA and to
seek out new clients who are in need of SMA’s services.

C. ACLS’s Access to SMA’s Confidential Information

36. SMA entered into the Contract with ACLS because at the time it did not have the
ability to provide certain toxicology testing, which some of its customers required.

37. ACLS agreed to provide the needed testing services for SMA subject to the terms,
conditions, and restrictions in the Contract.

38. By providing the testing services for SMA, ACLS received certain proprietary
information, such as the name and identification of the physicians and medical providers who
ordered the samples as well as information regarding the patients whose samples were being
tested.

39, By performing work under the Contract, ACLS learned the identity of SMA’s
customers and the type of tests ordered by those customers.

40. ACLS also learned of SMA’s marketing representatives, SMA’s arrangement with
those marketing representatives, and the manner in which those marketing representatives solicited

clients for SMA.

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41. By virtue of its performance of services for SMA pursuant to the Contract, ACLS
became intimately familiar with all aspects of the SMA customers it serviced and had access to
many of SMA’s trade secrets, modes of operation, business development and marketing strategies,
and pricing/cost details.

D. ACLS’s Breach & Intentional Interference with SMA’s Business

42. After ACLS was shut down by the New York State Department of Health, SMA
learned that ACLS had misappropriated SMA’s confidential business information for ACLS’s
benefit without the knowledge or consent of SMA.

43, Specifically, SMA learned that ACLS used and was using SMA’s customer lists
and contact information to contact and solicit business from SMA’s customers and to divert
customers away from SMA.

44. To that end, ACLS contacted, engaged, and paid SMA’s marketing representatives
to solicit SMA’s customers on behalf of ACLS.

45. In contravention of the confidentiality, non-circumvention, and non-solicitation
provisions in the Contract, ACLS intentionally utilized SMA’s customer lists, contact lists, and
other proprietary information to solicit SMA’s customers, to provide services directly to SMA’s
customers, and to steal business away from SMA.

46. Additionally, ACLS intentionally and tortiously interfered with SMA’s business
relationships by soliciting and hiring SMA’s marketing representatives to contact SMA’s current
and prospective customers on behalf of ACLS.

47. ACLS performed the foregoing acts at the direction and behest of Reyfman, who
knowingly and intentionally sought to use ACLS’s contractual relationship with SMA, specifically

ACLS’s access to SMA’s economically valuable confidential and proprietary business information

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and trade secrets, in order to divert customers away from SMA and to profit at the expense of
SMA and SMA’s business.

48. All the foregoing acts were done intentionally, willfully, and with knowledge of the
pecuniary harm they would cause SMA.

49. ACLS’s billing records and statement of accounts will show the names of the
doctors, offices, and clinics ACLS performed work for during the relevant time period.

50. ACLS’s accounting and payment records will show the amount of commissions
paid to SMA’s marketing representatives, which will in turn indicate how much revenue ACLS
earned from soliciting SMA’s clients; in fact, Reyfman provided Mr. Shvartsburd with a
commission printout summary for one marketing representative showing commissions paid to that
representative in the amount of $1.2 million.

51. Upon information and belief, ACLS hired more than a dozen marketing
representatives to solicit SMA’s clients and earned more than $15 million in revenues from the

misappropriation of SMA’s confidential business information, trade secrets, and other proprietary

information.
COUNTI
BREACH OF CONTRACT
(Plaintiff SMA vy. Defendant ACLS)
52. Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs by reference as though fully set forth herein.
53. The Contract entered is valid, enforceable, and supported by adequate

consideration.

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54. SMA has performed its obligations under the Contract and all conditions precedent
to enforcement of the Contract have been satisfied.

55. ACLS breached and violated the Contract, including Sections 8, 9, 11, and 12, by
the foregoing conduct, including soliciting SMA’s customers by misappropriating SMA’s

confidential information to the benefit of ACLS and to the detriment of SMA.

56. Upon information and belief, ACLS is continuing to violate its contractual
obligations.
57, As a consequence of the foregoing, SMA has suffered and will continue to suffer

economic losses, including but not limited to, lost customers, business, revenues, and profits, as
well as irreparable harm and loss of goodwill, and is entitled to compensatory damages as well as
attorney’s fees and costs pursuant to § 16 of the Contract, and such other legal or equitable relief
that this Court deems just and proper.
COUNT I
MISAPPROPRIATION OF TRADE SECRETS,
PENNSYLVANIA UNIFORM TRADE SECRETS ACT,
12 Pa.C.S. §§ 5301 to 5308
(Plaintiff SMA v. Defendants ACLS and Reyfman)
58. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.
59. SMA customer information, identification and contact information maintained by
SMA are trade secrets subject to protection under the Pennsylvania Uniform Trade Secrets Act, 12
Pa. C.S. §§ 5301-05.

60. The aforementioned information is a compilation of information that derives

independent economic value by not being generally known to or accessible, through proper means,

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to competitors, such as ACLS, who can profit from its explicit and/or implicit and/or intentional
and/or inevitable use or disclosure.

6l. SMA has taken reasonable measures under the circumstances to maintain the
secrecy of this information.

62. ACLS was privy to this information solely as a result of its promise and agreement,
contained in the Contract, to maintain its secrecy, to keep the information confidential, and to only
use it for the benefit of SMA.

63. Pursuant to the Contract, ACLS knew the aforementioned trade secrets and/or
confidential information were acquired under circumstances giving rise to a duty to maintain their
secrecy and limit their use.

64. The foregoing conduct of ACLS and Reyfman constitutes a misappropriation and
misuse of SMA’s confidential, trade secret information, without the express or implied consent of
SMA.

65. ACLS and Reyfman acted willfully and maliciously in misappropriating SMA’s
confidential, trade secret information for their own benefit and to the intended detriment of SMA.

66. As a consequence of the foregoing, SMA has suffered and will continue to suffer
economic losses, including but not limited to, lost customers, business, revenues, and profits, as
well as irreparable harm and loss of goodwill, and SMA is entitled to compensatory damages in an
amount yet to be determined pursuant to 12 Pa. C.S. § 5304(a), exemplary damages pursuant to 12
Pa. C.S. § 5304(b), attorney’s fees, expenses, and costs pursuant to 12 Pa. C.S. § 5304, and such

other legal or equitable relief that this Court deems just and proper.

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COUNT Til
MISAPPROPRIATION OF TRADE SECRETS,
DEFEND TRADE SECRETS ACT
18 U.S.C. §§ 1831-1839
(Plaintiff SMA v. Defendants ACLS and Reyfman)

67. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.

68. SMA customer information, identification and contact information maintained by
SMA are trade secrets subject to protection under the Defend Trade Secrets Act, 18 U.S.C. §§
1832, 1836.

69. The aforementioned information is a compilation of information that derives
independent economic value by not being generally known to or accessible, through proper means,
to competitors, such as ACLS, who can profit from its explicit and/or implicit and/or intentional
and/or inevitable use or disclosure.

70. This information is related to a product or service used in or intended for use in
interstate commerce.

71. SMA has taken reasonable measures under the circumstances to maintain the
secrecy of this information.

72. ACLS was privy to this information solely as a result of their promise and
agreement, contained in the Contract, to maintain its secrecy, to keep the information confidential,
and to only use it for the benefit of SMA.

73. Pursuant to the Contract, ACLS knew the aforementioned trade secrets and/or
confidential information were acquired under circumstances giving rise to a duty to maintain their

secrecy and limit their use.

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74. ACLS and Reyfman knowingly stole, or without authorization appropriated, took,
and carried away such information.

75. ACLS and Reyfman engaged in this conduct intending or knowing that it would
injure SMA, the owner of the trade secrets at issue.

76. The foregoing conduct of ACLS and Reyfman constitutes a misappropriation and
misuse of SMA’s confidential, trade secret information.

77. The Defend Trade Secrets Act provides that any organization that commits an
offense under the Act “shall be fined not more than the greater of $5,000,000 or 3 times the value
of the stolen trade secret to the organization.” 18 U.S.C. § 1832(b).

78. ACLS and Reyfman acted willfully and maliciously in misappropriating SMA’s
confidential, trade secret information for their own benefit and to the intended detriment of SMA.

79. As a consequence of the foregoing, SMA has suffered and will continue to suffer
economic losses, including but not limited to, lost customers, business, revenues, and profits, as
well as irreparable harm and loss of goodwill, and SMA is entitled to compensatory damages in an
amount yet to be determined pursuant to 18 U.S.C. § 1836(b)(3)(B), exemplary damages pursuant
to 18 U.S.C. § 1836(b)(3)(C), attorney’s fees, expenses, and costs pursuant to 18 U.S.C. 3
1836(b)(3)(D), and such other legal or equitable relief that this Court deems just and proper.

COUNT IV
MISAPPROPRIATION OF TRADE SECRETS AND
CONFIDENTIAL INFORMATION
UNDER NEW YORK COMMON LAW
(Plaintiff SMA v. Defendants ACLS and Reyfman)
80. Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs by reference as though fully set forth herein.

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81. Plaintiff has a protectable trade secret in the confidential customer information it
keeps, including its client names, contact information, and customer data.

82. Plaintiff derives economic value and a competitive advantage from this trade secret
due to it not being generally known to other persons who could obtain economic value form its
disclosure or use.

83. Plaintiff has made efforts that are reasonable under the circumstances to maintain
the secrecy of such information.

84. In breach of the Contract and their agreement with SMA, Defendants have used
SMA’s trade secret to compete with SMA and to injure SMA’s relationship with its clients.

85. Defendants have used SMA’s trade secret information in bad faith for their own
benefit and to the detriment of SMA.

86. Defendants’ use and misappropriation of SMA’s trade secret information
constitutes a misappropriation of trade secrets in violation of New York common law.

87. As a consequence of the foregoing, SMA has suffered and will continue to suffer
economic losses, including but not limited to, lost customers, business, revenues, and profits, as
well as irreparable harm and loss of goodwill, and is entitled to compensatory damages as well as
punitive damages, and such other legal or equitable relief that this Court deems just and proper.

COUNT V

CONVERSION OF TRADE SECRETS, CONFIDENTIAL INFORMATION, AND
BUSINESS OPPORTUNITIES

(Plaintiff SMA v. Defendants ACLS and Reyfman)
88. Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs by reference as though fully set forth herein.

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89, The trade secrets, confidential information, and business opportunities referred to in
this Complaint are the property of SMA and are owned by SMA.

90. ACLS agreed to SMA’s terms and conditions with respect to the protection of
SMA’s trade secrets, confidential business information, and business opportunities by
acknowledging and signing the Contract.

91. When ACLS executed the Contract, it acknowledged his understanding and
agreement to comply with the confidentiality, non-circumvention, and non-solicitation provisions
in the Contract.

92. ACLS and Reyfman violated the terms and conditions of the Contract by, inter alia,
using SMA’s customer lists, trade secrets, and other proprietary information for its own benefit
rather than for the sole benefit of SMA.

93. ACLS and Reyfman converted SMA’s proprietary confidential business
information and trade secrets for their own use.

94. ACLS and Reyfman have without authority assumed and exercised the right of
ownership over SMA’s confidential business information, trade secrets, and business
opportunities.

95. The conversion by ACLS and Reyfman of SMA’s confidential business
information, trade secrets, and business opportunities was willful and malicious.

96. SMA has been injured as a proximate result of the conversion by ACLS and
Reyfman of SMA’s confidential business information, trade secrets, and business opportunities.

97. As a consequence of the foregoing, SMA has suffered and will continue to suffer
economic losses, including but not limited to, lost customers, business, revenues, and profits, as

well as irreparable harm and loss of goodwill, and SMA is entitled to compensatory damages in an

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amount to be proven at trial and punitive damages as a result of Defendants’ conversion of SMA’s
confidential business information, trade secrets, and business opportunities, and such other legal or
equitable relief that this Court deems just and proper.
COUNT VI
UNJUST ENRICHMENT
(Plaintiff SMA vy. Defendants ACLS and Reyfman)

98. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.

99. In the alternative to the breach of contract claim above, in the event the Contract is
deemed unenforceable, SMA is entitled to compensation in an amount to be proven at trial and
punitive damages as a result of Defendants’ unauthorized use and conversion of SMA’s
confidential business information, trade secrets, and business opportunities.

100. Upon information and belief, Defendants have been enriched as a result of the
Defendants’ misappropriation, conversion, and unauthorized use of SMA’s confidential business
information, trade secrets, and business opportunities to benefit Defendants and harm SMA.

101. Upon information and belief, Defendants have been enriched as a result of SMA’s
breach of the contractual and common law obligations it owed to SMA.

102. The retention of the amount by which Defendants have been enriched as a result of
ACLS’s and Reyfman’s unlawful conduct as alleged herein, is contrary to the principles of
fairness, justice, and equity.

103. SMA is entitled to recover from Defendants the amount by which Defendants have

been enriched as a result of ACLS’s and Reyfman’s unlawful conduct as alleged in the Complaint.

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COUNT VII
TORTIOUS INTERFERENCE WITH CONTRACT
(Plaintiff SMA v. Defendants ACLS and Reyfman)

104. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.

105. SMA entered into consulting contracts with various companies to serve as SMA’s
marketing representatives, to solicit prospective customers, and to promote and sell SMA’s
services (“Marketing Contracts”).

106. The Marketing Contracts are valid contracts that confer certain rights and
obligations as between SMA and its marketing representatives.

107. At all times relevant to the allegations of this Complaint, ACLS and Reyfman were
aware that the Marketing Contracts existed between SMA and its marketing representatives.

108. Upon information and belief, ACLS and Reyfman intentionally induced SMA’s
marketing representatives to breach their agreements with SMA and otherwise to fail to perform
their obligations under the Marketing Contracts, including, inter alia, by engaging them to perform
marketing and sales services for ACLS for the benefit of ACLS and to the detriment of SMA.

109. ACLS’s and Reyfman’s intentional inducement of SMA’s marketing
representatives to breach the Marketing Contracts and otherwise to fail to perform their obligations
under the Marketing Contracts was wrongful and without justification.

110. ACLS’s and Reyfman’s intentional inducement of SMA’s marketing
representatives to breach the Marketing Contracts and otherwise to fail to perform their obligations

under the Marketing Contracts has resulted in actual damage to SMA.

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111. SMA is entitled to recover compensatory damages, in an amount to be proven at
trial, as well as punitive damages, for SMA’s and Reyfiman’s unjustified and intentional
inducement of SMA’s marketing representatives to breach or otherwise fail to perform their
obligations under the Marketing Contracts.

COUNT VII

TORTIOUS INTERFERENCE WITH EXISTING AND PROSPECTIVE CONTRACTUAL
AND BUSINESS RELATIONSHIPS

(Plaintiff SMA v. Defendants ACLS and Reyfman)

112. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.

113. Economic relationships have existed between SMA and its customers and other
entities, which have been advantageous to SMA.

114. Being in the business of, among other things, diagnostic laboratory testing, SMA
has developed valid and existing business relationships with hundreds of customers with the
probability of future economic benefit for SMA.

115. ACLS and Reyfman knew that SMA sought to protect its relationship with its
customers and only divulged certain confidential business information and trade secrets in
exchange for ACLS’s contractual agreement not to use that information and trade secrets to solicit
SMA’s customers or otherwise divert business away from SMA.

116. In spite of this knowledge, Defendants wrongfully interfered with SMA’s
prospective economic advantage and existing business relationships by wrongfully using SMA’s
trade secrets and proprietary business information for the purpose of benefitting ACLS, a

competitor of SMA.

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117. In spite of this knowledge, Defendants wrongfully interfered with SMA’s
prospective economic advantage and existing business relationships by soliciting SMA’s
customers and business contacts.

118. Defendants engaged in these acts with full knowledge and intention to interfere
with or disrupt the economic relationships that SMA enjoyed with its customers, and the wrongful
acts described herein demonstrate Defendants’ intentional conduct.

119. Defendants’ conduct was intentional and willful in that Defendants intended to
harm SMA’s economic and financial interests.

120. Defendants’ conduct was wrongful and not justified, privileged, or excusable.

121. As a direct and proximate result of Defendants’ wrongful conduct, SMA has
suffered economic losses, including but not limited to, lost customers, business, revenues, and
profits, as well as irreparable harm and loss of goodwill, and SMA is entitled to compensatory
damages in an amount to be proven at trial and punitive damages as a result of Defendants’
intentional, willful, and malicious conduct, and such other legal or equitable relief that this Court
deems just and proper.

COUNT IX
UNFAIR COMPETITION
(Plaintiff SMA v. Defendant ACLS)

122. Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs by reference as though fully set forth herein.

123. Defendant ACLS has used, and upon information and belief is continuing to use,

SMA’s confidential and proprietary information, and trade secrets, in order to compete with SMA.

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124. ACLS’s conduct described herein constitutes unfair competition under applicable
common law.

125. As a direct and proximate result of ACLS’s wrongful conduct, SMA has suffered
economic losses, including but not limited to, lost customers, business, revenues, and profits, as
well as irreparable harm and loss of goodwill, and SMA is entitled to compensatory damages in an
amount to be proven at trial and punitive damages as a result of Defendants’ intentional, willful,
and malicious conduct, and such other legal or equitable relief that this Court deems just and
proper.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff SMA respectfully requests that this Court enter judgment in its

favor, and against Defendants ACLS and Reyfman on all counts, and award Plaintiff the following

relief:

A. Monetary damages against Defendants jointly and _ severally, including
compensatory damages, actual losses, and disgorgement of Defendants’ ill-gotten
profits;

B. Exemplary and punitive damages as a result of Defendants’ willful, intentional, and

malicious conduct;
C. Treble damages;
Dz. Reasonable attorney’s fees and costs, including interest and costs incurred in this

action; and

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E, All such other and further relief and remedies as this Court deems just and proper

and as are justified by the evidence presented at trial in this proceeding.
Respectfully submitted,

STARK & STARK
A Professional Corporation

»— YR

Stefanie aban ve PA No. 205709

Gene Marlin, \PA No. 308899

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Lawrenceville, NJ 08648
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ATTORNEYS FOR PLAINTIFF, SMA
MEDICAL LABORATORIES, INC.

Dated: August 22, 2017

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REFERENCE LABORATORY SERVICES AGREEMENT

This REFERENCE LABORATORY SERVICES AGREEMENT (“Agreement”) is dated this 14
day of April, 2014 (the “Effective Date”) by and between SMA Medical Laboratories, its
parents, subsidiaries, divisions, affiliates, and successors, having a principal place of business at
940 Pennsylvania Blvd, Unit A, Feasterville, PA 19053 (“SMA”) and ACLS -Advanced Clinical
Laboratory Solutions, Inc (“Facility”) having a principal place of business at 2277-2283 Coney
Island Ave, Suite 3b, Brooklyn, NY 11223. SMA and Facility are each hereafter referred to
individually as a “Party” and together as the “Parties.”

BACKGROUND

A. SMA is a clinical laboratory company that requires reference laboratory services (“Services”)
on a per-request basis for its customers,

B, Facility owns and operates a reference laboratory and is available to provide Services to SMA
customers consisting of medical providers including but limited to physicians, group practices,
hospitals, outpatient facilities, ASCs and clinics (collectively “Customers).

C, SMA desires to obtain Services from the Facility, and the Facility is willing to provide such
Services to SMA, in accordance with the terms and conditions set forth herein,

NOW THEREFORE, in consideration of the foregoing and the mutual covenants, promises and
agreements contained herein, the sufficiency of which is hereby acknowledged, the Parties agree
as follows:

Section I — Services; Responsibilities of the Parties.

1, Services. Facility agrees to provide Services for SMA on an as-needed basis and in
accordance with all applicable federal, state and local jaws, rules and regulations, as well as any
applicable SMA, policies. Services shall include, those tests set forth on Exhibit A, All such tests
shall be conducted within the 48 hr. timeframes and on a quality, professional basis consistent
with applicable industry standards. Facility and its employees shall maintain all required
licenses. SMA shall maintain current Clinical Laboratory Improvement Amendments (CLIA)
accreditation.

2. Service Orders. Every specimen from SMA or SMA Customers be sent to the Facility with
the appropriate test requisition form.

3, Facility Responsibilities. The above Services will be made available Monday through Friday,
from 9:00 a.m, to 5:00 p.m. to SMA. Upon completion of the Services, the Facility will send a
final report (“Repart”) to SMA vie facsimile, A printed copy of the report will also be sent to the
Facility via U.S. Mail aleng with the invoice,

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4, Reports. The Facility’s report will include at least the following: patient name, date of birth,
date of collection, accession number, date of report(s), name of test(s), test result(s), an
interpretation of the result(s), and laboratory name and address.

5, SMA Responsibilities, SMA will deliver material to be tested (“Material”) to the Facility
between the hours of 9:00 am, and 5:00 p.m., Monday through Friday, in a manner in
compliance with Facility’s requirements and applicable legal requirements for such transpott, as
amended from time to time. As between the Parties, SMA is solely responsible for transporting
Materials between the Parties and protecting against any unauthorized disclosures of protected
health information while the Material is in transit (regardless of whether transfer mode is
electronic or otherwise).

Section If - Compensation & Billing.

6. Fees, For Services rendered hereunder, Facility will bill SMA at the rate set forth on the fee
schedule attached as Exhibit A. SMA agrees to pay all invoices within thirty (60) days of
receipt, No tests or services will be priced or offered below the fair market value,

7. Facility’s Billing Responsibilities. As between the Parties, SMA is solely responsible for
ensuring compliance with all applicable insurance billing regulations including, but not limited
to, Medicare and Medicaid reference laboratory billing regulations, It is SMA’s responsibility to
bill third party payers when appropriate, Facility will provide SMA with a “Super Bill”, which
wit! include all bijlable CPT codes and units according to confirmed test results for each patient
tested.

Section III — Protection of Confidential Information /Non Solicitation.

8. Confidential Information. Facility agrees that during the term of Agreement, SMA will
make available to it (i) confidential and proprietary information (“Confidential Information” as
hereinafter further defined) and trade secrets (“Trade Secrets” as hereinafter furthei defined)
concerning the business as carried on from time to time by SMA which are not generally known
in the industry, and (ii) Confidential Information and Trade Secrets of or about SMA, its
business partners, licensors, suppliers and other companies, persoris or entities with which SMA
maintains or has maintained a business relationship, (hereinafter collectively, “SMA Business
Relationships”). Facility recognizes that the knowledge and information acquired by Facility
concerning the Confidential Information and SMA Business Relationships are valuable, special
and unique aspects of the business of SMA. Facility recognizes that such Confidential
Information would not be provided to Facility by SMA in the absence of this signed Agreement
because of the risks that valuable Confidential Information might otherwise be divulged and
thereby damage SMA’s competitive position in the marketplace or otherwise damage SMA or
SMA Business Relationships. In exchange, Facility agrees to use such Confidential Information
solely for SMA's benefit.

9, Disclosure of Confidential Information: During the term of this Agreement and following
the termination of this Agreement for any reason, Facility will not use or disclose, directly or
indirectly, for any reason whatsoever or in any way, other than at the direction of SMA during
the course of this Agreement or after receipt of the prior written consent of SMA, any

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Confidential Information of SMA, that comes into his knowledge during the term of this
Agreement by SMA. The obligation not to use or disclose any Confidential Information will not
apply to any Confidential Information that is or becomes public knowledge through no fault of
Facility, and that may be utilized by the public without any direct or indirect obligation to SMA,
but the termination of the obligation for non-use or nondisclosure by reason of such information
becoming public will extend only from the date such information becomes public knowledge.
The above will be without prejudice to any additional rights or remedies of SMA under any state

ot federal law protecting trade secrets or other information.

10. Trade Secrets. Facility shall hold in confidence all Trade Secrets of SMA, its direct and
indirect subsidiaries, and/or its customers that came into his knowledge during the term of this
Agreement and shall not disclose, publish or make use of at any time after the date hereof such
Trade Secrets, other than at the direction of SMA, for as long as the information remains a Trade
Secret.

10.1 Definitions. For purposes of this Agreement, the following definitions apply:

“Confidential Information” means any data or information, other than Trade Secrets, that
is valuable to SMA and not generally known to the public or to competitors of SMA, It
is understood that the term “Confidential Information" does not mean and shall not
include information which:

(A) is or subsequently becomes publicly available without the breach of any
obligation owed to the SMA;

(B) is disclosed with the prior written approval of the SMA; or

(C) is obligated to be produced under order of a court of competent jurisdiction or a
valid administrative, congressional, or other subpoena, civil investigative
demand or similar process; provided, however, that upon issuance of any such
order, subpoena, demand or other process, the Facility shall promptly notify the
SMA. and shall provide the SMA with an opportunity (if then available) to
contest, at the SMA’s expense, the propriety of such order or subpoena (or to
arrange for appropriate safeguards against any further disclosure by the court or
administrative or congressional body seeking to compel disclosure of such
Confidential Information).

“Trade Secret” means information including, but not limited to, business plans and
methods, trade secrets, products, services, financial affairs, formulae, technology, know-
how, contracts, contact lists, costs, policies, sales methods, financial information, profits,
expenses, operations, operating methods and procedures, processes, statistics, suppliers,
marketing data, strategic information, sales and plans for future developments, methods,
reports, plans, strategies and efforts, medical providers, customers, customer lists,
customer requirements and information, prospective customers, customer files, proposals
and communications with customers and prospective customers, fees, information
regarding meeting attendees, employee lists and information, financial and other record

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systems, records, applications, computers, computer programs, system documentation,
hardware, software and information contained therein, marketing and expansion plans,
technologies, development, projects, forms and other trade secrets, inventions designs,
know-how, any facts concerning the systems, methods, procedures or plans developed or
used by SMA or Company Business Relationships or other private, confidential or
proprietary information of or about SMA, or Company Business Relationships which is
not already available to the public.

11. Further contacts with the Customers (Non-Circumvention).Facility agrees not to
contact or initiate contact at any time for any purpose, either directly or indirectly, any Customer
of SMA or any of such Customer’s officers, directors, shareholders, consultants, attorneys,
employees, agents or other affiliates of the Customer, or any other property or properties whose
identity was revealed through the efforts of SMA, unless such approval is specifically granted in
written form by SMA on a case-by-case basis. Facility further agrees not to undertake any
transaction or a series of transactions of any kind with the Customer or to collect any fees in
connection with the Customer without the express prior written agreement of SMA, which
agreement may be withheld in SMA‘s sole discretion,

12, Non Solicitation. To protect the goodwill of SMA or the customers of SMA and their
respective controlled subsidiaries and affiliates, Facility agrees that, for a period of twenty four
(24) months immediately following the termination of this Agreement with SMA, it will not,
without the prior written permission of SMA, directly or indirectly, for itself or on behalf of any
other person or entity, solicit, divert away, take away, or attempt to solicit, or take away any
“Customer” of SMA for purposes of providing or selling services that are offered by SMA, if
SMA is then still engaged in the sale or provision of such services at the time of the solicitation.
For purposes of this Section III, “Cystomer” means any individual or entity to whom SMA has
provided, or contracted to provide, services or products,

13. Interpretation. The restrictions stated in this Section HI are in addition to and not in lieu
of protections afforded to trade secrets and confidential information under applicable state law.
Nothing in this Agreement is intended to or shall be interpreted as diminishing or otherwise
limiting SMA’s right under applicable state law to protect its trade secrets and confidential
information.

14. Value. Facility acknowledges that it will derive significant value from SMA's agreement in
this Section Ill, to provide it with that Confidential Information of SMA under the terms of this
Agreement, Facility further acknowledges that its fulfillment of the obligations contained in this
Agreement, including, but not limited to, its obligation neither to disclose nor to use SMA's
Confidential Information other than for SMA's exclusive benefit and its obligation not to
circumvent contained in Section 13, above, is necessary to protect SMA's Confidential
Information and Trade Secrets and, consequently, to preserve the value and goodwill of SMA.
Facility further acknowledges the time and scope of the limitations, above, are reasonable,
especially in light of SMA’s desire to protect its Confidential Information and Trade Secrets, and
that Facility will not be precluded from providing Services to other customers during the period.

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1. Covenants. The covenants contained in this Section IIT shall be construed as a series of
separate covenants. If, in any judicial proceeding, a court refuses to enforce any of such separate
covenants (or any part thereof), then such unenforceable covenant (or such part) shall be
eliminated from this Agreement to the extent necessary to permit the remaining separate
covenants (or portions thereof) to be enforced, In the event any of the provisions of this Section
III are deemed to exceed the time, geographic or scope limitations permitted by applicable law,
then such provisions shall be reformed to the maximum time, geographic or scope limitations, as
the case may be, then permitted by such law.

16. Enforcement. Facility agrees that if Facility violates the covenants and agreements set
forth above, SMA would suffer irreparable harm, and that such harm to SMA may be impossible
to measure in monetary damages. Accordingly, in addition to any other remedies which SMA
may have at law or in equity, SMA will have the right to have all obligations, undertakings,
agreements covenants and other provisions of this Agreement specifically performed by Fasility,
and SMA will have the right to obtain preliminary and permanent injunctive relief to secure
specific performance, and to prevent a breach or contemplated breach, of this Agreement, SMA
also will be entitled to recover any damages proved to have been caused by any breach of
Facility’s covenants and agreements hereunder. Such remedies will be an addition to and not in
limitation of any injunctive relief or other rights or remedies to which SMA is or may be entitled
at law or in equity under this Agreement. In the event SMA is required to enforce the terms of
this Agreement through court proceedings, the prevailing party will be entitled to reimbursement
for al) reasonable legal fees, costs and expenses incident to such enforcement proceedings,
including at the pre-trial Level, trial level and appellate level.

Facility understands and agrees that the covenants, undertakings and agreements in Section III
herein will survive the termination of this Agreement or the cessation of Facility’s employment
with SMA for any reason, The existence of any claim or cause of action that Facility may have
against SMA or any other person, including but not limited to, any claim under this Agreement,
will not constitute a defense or bar to the enforcement of any of the covenants and undertakings
contained in Section III herein.

Facility recognizes and acknowledges that the restrictions set forth in this Section IE: (i) are
necessary to preserve SMA’s legitimate business interests and information and goodwill; (ii) are
appropriately limited in time and scope; and (iii) will not prevent Facility from operating its
business,

Facility expressly acknowledges that the restrictions and covenants set forth in this Section Hl
are a material part of the consideration bargained for by SMA and, without Facility’s agreement
to be bound by such provisions, SMA would not have agreed to enter into this Agreement.

If any court of competent jurisdiction construes any of the restrictions or covenants set forth in
this Section III, or any part thereof, to be invalid or unenforceable because of the duration, scope
or geographic area covered thereby, such court will have the power to reduce the duration, scope
or geographic area of such provision and, in its reduced form, such provision will then be valid
and enforceable and will be enforced.

Section IV - HIPAA Compliance.

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17. Patient Information. Facility, all staff, employees or agents shall not disclose toany third
party, except where permitted or required by law, any patient or medical record information
regarding SMA’s patients, and the SMA and staff, employees and agents shall comply with all
applicable federal and state laws and regulations regarding the confidentiality ofsuch
information.

18, HIPAA Requirements. To the extent applicable, the Parties agree to comply with the
applicable provisions of the Administrative Simplification section of the Health Insurance
Portability and Accountability Act of 1996, as codified at 42 U.S.C. § 1320d through d-8
(“HIPAA”), and the requirements of any regulations promulgated there under including without
limitation the federal privacy standards as contained in 45 C.F.R. Parts 160 and 164 (the
“FederalPrivacy Standards”), the federal security standards as contained in 45 C.F.R. Parts 160,
162 andi64 (the “Federal Security Standards”) and the federal standards for electronic
transactions contained in 45 C.F.R, Parts 160 and 162, each as may be amended from time to
time, The Parties agree not to use or further disclose any protected health information, as defined
in 45 C.F.R. § 164.504, or individually identifiable health information as defined in 42 U.S.C. §
1320d(collectively, the “Protected Health Information”), concerning a patient other than as
permitted by this Agreement and the requirements of HIPAA or regulations promulgated under
HIPAA including without limitation the Federal Privacy Standards and the Federal Security
Standards, The Parties shal! implement appropriate safeguards to prevent the use or disclosure of
a patient’s Protected Health Information other than as provided for by this Agreement, or as
permitted or required by law. Facility will promptly report to SMA any use or disclosure of a
patlent’s Protected Health Information not provided for by this Agreement or in violation of
HIPAA, the Federal Privacy Standards, or the Federal Security Standards of which that Party
becomes awate.

19, Consent. SMA shall comply with all federal, state and local laws, rules and regulations
related to the circumstances under which informed consent must be obtained prior to conducting
genetic testing, the content of any such consent, and the manner in which genetic information
may be obtained, maintained, reported and/or disclosed,

Section V — Term and Termination

20. Term. The initial term of this Agreement shall commence on the Effective Date and
terminate on March 31, 2016, unless otherwise terminated as provided herein (“Initial Term”).
Thereafter, this Agreement shall automatically renew for one year periods commencing on the
anniversary of the Effective Date (“Renewal Term”).

21. Termination, Notwithstanding anything herein to the contrary, this Agreement may be
terminated at any time as follows:

(A) By mutual agreement of the Parties; or

(B) With cause by the SMA or Facility upon the default by the other of any term,
covenant or condition of this Agreement, where such default continues for a

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period of ten (10) business days after the defaulting Party receives written
notice thereof from the other Party specifying the existence of the such default;
or

(C) The Parties intend that this Agreement comply at all times with all applicable
state, federal and local laws, including but not limited to: fraud and abuse
statutes; Stark legislation; the federal Anti-Kickback Statute; and federal, state
and local civil rights laws; and rules and regulations of applicable healthcare
accreditation organizations. If, at any time, a Party in good faith determines that
this Agreement does not comply with the law, then the Parties shall use good
faith efforts to conform the Agreement in such a manner so that it does
appropriately comply. If, after the exercise of such good faith efforts, the
Parties determine that this Agreement cannot be so conformed, either Party may
terminate this Agreement immediately upon written notice to the other Party.

Section VI — Miscellaneous

22, Governing Law. This Agreement shall be governed by and construed in accordance with
the laws of the state of Pennsylvania without regard to its conflicts of laws principles.

23. Entire Agreement; Written Modification, This Agreement is the entire agreement
between the Parties and supersedes any other oral or written communications, proposals, quotes,
advertisements or understandings regarding the subject matter hereof. This Agreement may be
amended only in writing, and only if signed by both Parties.

24, Severability. If any of the provisions of this Agreement are held invalid or unenforceable,
unless such invalidity or unenforceability substantially frustrates the underlying purpose and
intent of the remainder of this Agreement, such invalidity or unenforceability shall not affect the
remainder of this Agreement, All terms and conditions are severable and all remedies here under
or at law or in equity ate cumulative and nonexclusive.

25. Waiver. Any Party’s failure to insist upon strict performance of any provision of this
Agreement is not a waiver of any of its rights under this Agreement.

26. Independent Contractor. The SMA and Facility are independent conttactors for the
purposes of this Agreement and neither has the authority to bind the other. No third party is a
beneficiary of this Agreement.

27, Assignment; Subcontracting. The Parties may not assign or subcontract this Agreement
or any of their respective rights or obligations hereunder without the prior written permission of
the other Parties.

28. Interpretation. This Agreement is the product of negotiation between the Parties and shall
not be interpreted for or against any Party on account of the role of a Party in the drafting here
of, Each appearance of the word “including” or “includes” shall be deemed to include the words
“without limitation.”

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29, Survival. In addition to any specific survival references in this Agreement, any terms or
obligations that by nature would be expected to survive the termination or expiration of this
Agreement shall survive,

30. Counterparts; Facsimile. This Agreement may be executed in one or more
counterparts,each of which shall be deemed an otiginal, but all of which shall together constitute
one and the same instrument. Signatures provided by facsimile transmission or other electronic
delivery shall be deemed to be original signatures.

(Signature Page Follows)

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IN WITNESS WHEREOF, the Patties have caused this Agreement to be executed by their duly
authorized representatives as of the date first set forth above.

Sea eo gun may

Name: Mart Shvatts bury
(print)

Tithe: CEO
Date: O44 13. 2O\4 es

Address and Contact Information:

ACLS: dims
By: SAK

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Name: flasmly Mecrow rol phy

(print)
Title: Presroen> i
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Address and Contact Information:

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